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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                            Case No. 16-25291-Civ-TORRES

  DENISE PINEDA, and others
  similarly-situated,

        Plaintiff,

  v.

  PESCATLANTIC GROUP, LLC,
  a Florida limited liability company,
  and CESAR CALVO, individually,

        Defendants.

  ___________________________________________/

              ORDER ON PLAINTIFF’S MOTION FOR NEW TRIAL

        This matter is before the Court on Denise Pineda’s (“Plaintiff”) motion for a

  new trial on damages for her overtime claim and motion for new trial on her

  retaliation claim against Pescatlantic Group, LLC’s (“Pescatlantic”) and Cesar

  Calvo (“Mr. Calvo”) (collectively, “Defendants”). [D.E. 93]. Defendants responded to

  Plaintiff’s motion on January 3, 2019 [D.E. 95] to which Plaintiff replied on January

  10, 2019. [D.E. 98]. Therefore, Plaintiff’s motion is now ripe for disposition. After

  careful consideration of the motion, response, reply, and for the reasons discussed

  below, Plaintiff’s motion is DENIED.

                                  I. BACKGROUND

        Pescatlantic employed Plaintiff from March 2016 to October 28, 2016 as a

  logistic coordinator and compensated her at a rate of $1,375 every two weeks during
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  her 90-day probationary period. After her probationary period concluded, Plaintiff

  demanded and was granted a raise in her salary. On the morning of October 28,

  2016, Plaintiff alleges that she met with Mr. Calvo to discuss a potential change in

  the law with respect to a Department of Labor regulation. Plaintiff claims that Mr.

  Calvo did not care about the changes, but wanted to make clear that Defendants

  were not going to pay Plaintiff for any overtime work going forward. Plaintiff then

  told Mr. Calvo that she was not compensated in the past for overtime work and

  refused to work overtime without compensation going forward. Because Plaintiff

  refused to work for free and complained about the lack of compensation for overtime

  pay, Plaintiff alleges that she was terminated.

        Defendants dispute Plaintiff’s allegations and claim that Plaintiff voluntarily

  resigned following her meeting with Mr. Calvo because she was asked to cease her

  excessive use of her cell phone during business hours. Defendants also suggest

  that, even if Plaintiff had not voluntarily left her job, they had valid non-

  discriminatory reasons for terminating Plaintiff’s employment – namely her

  excessive use of her cell phone for personal calls during business hours.

  Pescatlantic contends that it had a policy against employees using their cell phones

  during business hours other than for the use of emergencies.1 After Plaintiff was

  terminated, it became known that she lied on her resume about acquiring a high

  school diploma.     Defendants claim that, if they had known of Plaintiff’s


  1     Plaintiff alleges that she only received a copy of these polices at the end of
  her employment.
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  misrepresentation, they would have never hired Plaintiff and/or fired her

  immediately.

        After her departure, Plaintiff filed a three-count complaint in Florida state

  court alleging (1) an unpaid overtime wage claim against Pescatlantic, (2) an unpaid

  overtime wage claim against Mr. Calvo, and (3) a retaliation claim against both

  Defendants.    On December 21, 2016, Defendants removed this action to federal

  court on the basis of federal question jurisdiction. [D.E. 1]. Plaintiff sought money

  damages for unpaid overtime wages under the Fair Labor Standards Act (“FLSA”)

  and damages for unlawful retaliatory termination in violation of 29 U.S.C. §

  215(a)(3).

        After discovery, the case proceeded to a three-day jury trial in December

  2018. After hearing all the evidence and the parties’ arguments, the jury returned a

  verdict finding (1) that Plaintiff was exempt from the FLSA as an administrative

  employee, and (2) that Plaintiff failed to prove by the greater weight of the evidence

  that Defendants terminated Plaintiff because of her demand for overtime wages.

  The Court entered final judgment in favor of Defendants on December 18, 2018.

  [D.E. 92]. Plaintiff filed this motion for new trial on December 20, 2018. [D.E. 93].

                                    II. ANALYSIS

        Plaintiff seeks two forms of relief under the Federal Rules. First, Plaintiff

  effectively seeks judgment as a matter of law under Rule 50(b) on her overtime

  claim because Defendants failed to establish the administrative exemption defense


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  at trial.2 Second, Plaintiff requests a new trial on her retaliation claim under Rule

  59 because Defendants intentionally violated several in limine rulings in the jury’s

  presence when Defendants referenced her prior FLSA lawsuit and purportedly

  demeaned her during counsel’s closing. We will discuss the parties’ arguments in

  turn.

          A.    Rule 50(b) Motion for Judgment as a Matter of Law

                                 (1)    Standard of Review

          Fed. R. Civ. P. 50 is the mechanism for a party to challenge the sufficiency of

  the evidence at and after the close of the case:

          (a)(1) If during a trial by jury a party has been fully heard on an issue
          and there is no legally sufficient evidentiary basis for a reasonable jury
          to find for that party on that issue, the court may determine the issue
          against that party and may grant a motion for judgment as a matter of
          law against that party with respect to a claim or defense that cannot
          under the controlling law be maintained or defeated without a
          favorable finding on that issue.




  2      Plaintiff styles her motion in this respect as a motion for new trial, but the
  relief requested – vacating the verdict on the exemption defense and scheduling a
  trial only on overtime damages – would only be possible if judgment as a matter of
  law was entered on Defendants’ affirmative defense. So we will re-style the motion
  as to this issue as a motion for judgment under Rule 50.
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        “The standard for granting a renewed motion for judgment as a matter of law

  under Rule 50(b) is precisely the same as the standard for granting the

  pre-submission motion under 50(a).” Chaney v. City of Orlando, 483 F.3d 1221,

  1227 (11th Cir. 2007) (quoting 9A C. Wright and A. Miller, Federal Prac. &

  Procedure    2537 (2d ed. 1995)); see also Nebula Glass Int’l, Inc. v. Reichhold, Inc.,

  454 F.3d 1203, 1210 (11th Cir. 2006).            Further, “any renewal of a motion for

  judgment as a matter of law under Rule 50(b) must be based on the same grounds

  as the original request for judgment as a matter of law prior to the case being

  submitted to the jury.” Chaney, 483 F.3d at 1227 (quoting Doe v. Celebrity Cruises,

  Inc., 394 F.3d 891, 903 (11th Cir. 2004)).

        Thus, under both Rule 50(a) and 50(b), a moving party must meet a heavy

  burden to prevail on a motion for judgment as a matter of law. The standard of

  review for a district court to grant the motion is whether, “when the facts and

  inferences are viewed in the light most favorable to the opposing party, they ‘point

  so strongly and overwhelmingly in favor of one party the Court believes that

  reasonable men could not arrive at a contrary verdict.’” United States v. Vahlco

  Corp., 720 F.2d 885, 889 (11th Cir. 1983) (quoting Boeing Co. v. Shipman, 411 F.2d

  365, 374 (5th Cir. 1969)). The court must “affirm the jury verdict unless there is no

  legal basis upon which the jury could have found for [the defendants].” Telecom

  Tech. Servs., Inc. v. Rolm Co., 388 F.3d 820, 830 (11th Cir. 2004); see also Robbins v.




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  Koger Props., Inc., 116 F. 3d 1441 (11th Cir. 1997) (“A mere scintilla of evidence is

  not sufficient to support a jury verdict.”).

        While the court must afford due deference to the jury’s findings, it is

  axiomatic that such findings are not automatically insulated from review even

  following the jury’s careful and conscientious deliberation. See Johnson v. Clark,

  484 F. Supp. 2d 1242, 1245-46 (M.D. Fla. 2007). Rule 50 allows the trial court to

  remove issues from the jury’s consideration “when the facts are sufficiently clear

  that the law requires a particular result.” Id. (citations omitted). Accordingly, if

  Defendants did not provide a legally sufficient evidentiary basis for a reasonable

  jury to find in their favor on their defense, we must grant Plaintiff’s Rule 50(b)

  motion for judgment as a matter of law. See Pickett v. Tyson Fresh Meats, Inc., 420

  F.3d 1272, 1278 (11th Cir. 2005) (citing Cleveland v. Home Shopping Network, Inc.,

  369 F.2d 1189, 1192 (11th Cir. 2004)).

        On the other hand, we must deny Plaintiff’s motion for judgment as a matter

  of law if Defendants presented “enough evidence to create a substantial conflict in

  the evidence on an essential element” of their defenses. Pickett, 420 F.3d at 1278

  (citing Bogle v. Orange County Board of County Comm’rs, 162 F.3d 653, 659 (11th

  Cir. 1998) (“[I]n order to survive a defendant’s motion for judgment as a matter of

  law . . . the plaintiff must present evidence that would permit a reasonable jury to

  find in the plaintiff’s favor on each and every element of the claim.”)). To that end,

  we note that it is not the function of the Court to make credibility or factual


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  determinations under the guise of Rule 50 review. See, e.g., Jackson v. State of

  Alabama State Tenure Comm’n, 405 F.3d 1276, 1281 (11th Cir. 2005). If there are

  conflicting inferences that can be drawn from that evidence, it is not the Court’s role

  to pick the better one. Instead, all reasonable inferences from the evidence must be

  drawn in the prevailing party’s favor. Id.; see also Daniels v. Twin Oaks Nursing

  Home, 692 F.2d 1321, 1325 (11th Cir. 1982) (quoting Continental Ore Co. v. Union

  Carbide Corp., 370 U.S. 690, 696 (1962) (finding that a court is a court is “bound to

  view the evidence in the light most favorable to [Defendants] and to give [them] the

  benefit of all inferences which the evidence fairly supports, even though contrary

  inferences might reasonably be drawn.”)).

                                 (2)    Rule 50 Analysis

         Plaintiff argues that she is entitled to judgment as a matter of law on her

  overtime claim because Defendants failed to satisfy the elements of their

  affirmative defense founded on the administrative exemption. The jury found that,

  to the contrary, Defendants had established the elements of that defense in

  accordance with the Court’s jury instructions.3 Plaintiff claims, however, that no

  reasonable jury could have reached that conclusion based on the evidence presented

  at trial.




  3     There is no challenge to the Court’s jury instruction on this affirmative
  defense. Indeed, the parties agreed to the material terms of the instructions at the
  charge conference.
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        For the administrative exemption to apply, an employee must (1) earn no less

  than $455 per week, (2) have primary duties that involve “the performance of office

  or non-manual work directly related to the management or general business

  operations of the employer or the employer’s customers,” and (3) exercise “discretion

  and independent judgment with respect to matters of significance” in performing

  his or her primary duties. 29 C.F.R. § 541.200(a)(1)–(3).

        Plaintiff claims that there is no dispute that she earned more than $455 per

  week and that the first prong of the administrative exemption test is not in dispute.

  Plaintiff argues, however, that Defendants failed to meet the second prong because

  there is no evidence that she performed any managerial duties. Instead, Plaintiff

  compares the work that she performed to that of an employee in a production line.

  Plaintiff relies, in part, on the testimony of Mr. Calvo where he stated that

  Plaintiff’s responsibilities included booking trips, arranging Uber transportations,

  shipping orders, and receiving confirmations.       As such, Plaintiff argues that

  Defendants cannot meet the second prong of the administrative exemption test.

        As for the third prong, Plaintiff claims that Defendants presented no

  evidence that she had any discretion or independent judgment in her job duties.

  That is, Plaintiff alleges that there is nothing in the record to find that she could

  make independent choices free from supervision. Because the second and third

  prongs of the administrative exemption test have not been met, Plaintiff concludes




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  that the Court should enter judgment in her favor and order a new trial “on

  damages.”4

        The parties and the Court agree that the first prong of the administrative

  exemption test has been met. So we turn to the second prong of the administrative

  exemption test and inquire whether Plaintiff’s primary duties relate to the

  management or general business operations of her employer.            To meet this

  requirement, the employee “must perform work directly related to assisting with

  the running or servicing of the business, as distinguished, for example, from

  working on a manufacturing production line or selling a product in a retail or

  service establishment.” Id. § 541.201(a).    “The term ‘primary duty’ means the

  principal, main, major, or most important duty that the employee performs.” 29

  C.F.R. § 541.700(a). “Of course, merely having the title ‘manager’ is not talismanic,

  and the Court must still engage in a fact-specific inquiry to determine whether

  Plaintiff's most critical duties to the enterprise were his exempt managerial

  duties.” Rutenberg v. Boynton Carolina Ale House, LLC, 2010 WL 135100, at *3

  (S.D. Fla. Jan. 8, 2010) (citing Rodriguez v. Farm Stores Grocery, Inc., 518 F.3d

  1259, 1264 (11th Cir. 2008) (“When it comes to deciding whether an employee is an

  executive within the meaning of the FLSA, the answer is in the details.”)).




  4      Technically, the jury never found that Plaintiff worked more than 40 hours
  per work week. If a new trial was ordered, it would be on Plaintiff’s overtime claim
  as to both liability and damages.
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         In determining an employee’s primary duty, there are several factors to

   consider:

         [T]he relative importance of the exempt duties as compared with other
         types of duties; the amount of time spent performing exempt work; the
         employee’s relative freedom from direct supervision; and the
         relationship between the employee's salary and the wages paid to other
         employees for the kind of nonexempt work performed by the employee.

   Gregory v. First Title of Am., Inc., 555 F.3d 1300, 1303 (11th Cir. 2009) (citing 29 §

   C.F.R. 541.700). More specifically, work that is directly related to management or

   general business operations includes, but is not limited to, work in functional areas,

   includes:

         [F]inance; accounting; budgeting; auditing; insurance; quality control;
         purchasing; procurement; advertising; marketing; research; safety and
         health; personnel management; human resources; employee benefits;
         labor relations; public relations, government relations; computer
         network, internet and database administration; legal and regulatory
         compliance; and similar activities.

   Ramsey v. Wallace Elec. Co., 2015 WL 1413331, at *4 (N.D. Ga. Mar. 27,

   2015) (quoting 29 C.F.R. § 541.201(b)); see also Desmond v. PNGI Charles Town

   Gaming, L.L.C., 564 F.3d 688, 693 (4th Cir. 2009) (enumerating the functional

   areas for general business operations).

         Plaintiff maintains that there is not a “scintilla” of evidence in the record for

   the jury to conclude that she performed any managerial duties. Plaintiff overlooks

   the fact that her duties may be related to management or general business

   operations in order to trigger the administrative exemption. And the record shows

   that Plaintiff fits within several of the categories set forth above because she (1)

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   implemented a switch of one payroll system to another, (2) recommended the hiring

   of an attorney to draft employment documents for the company, (3) created a

   logbook for salesmen, (4) purchased computers, (5) made collections from customers,

   (6) completed paperwork for shipments of fish, (7) paid bills, (8) booked trips, and

   (9) completed other computer projects.

          Moreover, Mr. Calvo testified that one needed to be a manager to perform

   Plaintiff’s duties:

          The Court: . . . Do you need to be a manager, from your point of view,
          to make a call to a customer related to an outstanding receivable?
          Mr. Calvo: In our business, yes.

   [D.E. 92-3].

          Plaintiff takes issue with Mr. Calvo’s testimony but, as Mr. Calvo testified, he

   operated a small company with few employees and Plaintiff was responsible for

   running its general operations. The jury could thus have concluded that, given the

   size of this small company, the work she performed was far more than line-level

   work and, instead, amounted to material operational control over critical aspects of

   the company’s business.     See, e.g., Rock v. Ray Anthony Int’l, LLC, 380 F. App’x

   875, 877 (11th Cir. 2010) (affirming trier of fact finding that second prong of

   administrative exemption met where, in essence, employee effectively managed a

   core department of the employer’s business that was necessary to further its

   business operations); Reyes v. Hollywood Woodwork, Inc., 360 F. Supp. 2d 1288,

   1292 (S.D. Fla. 2005) (finding second prong of administrative exemption met where


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   employee principally involved in preparation of bids for woodworking business that

   was “an important part of general business operations necessary for the Defendants

   to obtain production work and sell their products.”).

         Indeed, even if more of her time was spent on non-administrative tasks,

   Plaintiff could still be exempt under the regulation where her administrative role

   constituted the primary value the employer placed on her work. That is precisely

   what we have here. Plaintiff’s role as the one-person collection department for this

   small distributing company could clearly constitute administrative work that was

   her most valuable contribution, as Mr. Calvo’s testimony supports:

         Q. And isn’t it true that part of Ms. Pineda’s duties was to answer the
         phones?
         A. She had many duties.
         Q. But my question specifically, isn’t it a fact that part of her duties
         was to answer the phones?
         A. Yes.
         Q. And she also made collections for Pescatlantic; isn’t that correct?
         A. She did collections, payables.
         Q. Right. And to the extent . . . to the extent that she dealt with
         customers was to do collections; isn’t that true?
         A. She actually did collections. She handled claims because she was
         in charge of talking to the customers.

   [D.E. 93-2 at 47].

         That is ample evidence that could support the jury’s finding.        See, e.g.,

   Dalheim v. KDFW–TV, 918 F.2d 1220, 1227 (5th Cir. 1990) (“the employee's

   primary duty is what she does that is of principal value to the employer, not the

   collateral tasks that she may also perform, even if they consume more than half her

   time”); Brillas v. Bennett Auto Supply, Inc., 675 F. Supp. 2d 1164, 1168 (S.D. Fla.

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   2009) (“[N]umerous courts have held that when considering the question concerning

   whether management was an employee’s ‘primary duty,’ a more useful question is

   whether or not the employee’s managerial duties constituted the primary value the

   employer placed on the employee.”); Calvo v. B & R Supermarket, Inc., 63 F. Supp.

   3d 1369, 1385 (S.D. Fla. 2014) (finding employee administratively exempt where

   “the record is undisputed that the primary value of Plaintiff’s employment was its

   management component. Defendant considered Plaintiff part of its management

   team.”).

         Plaintiff is convinced that her responsibilities do not meet the second prong of

   the administrative exemption test, but this was ultimately a factual and credibility

   determination for the jury to decide. That is, the jury was tasked with making a

   finding as to the duties Plaintiff performed and whether that went hand in hand

   with the management or general business operations of the company. In reaching

   that decision a core credibility determination had to be made between the

   conflicting testimony of Mr. Calvo versus that of the Plaintiff. The jury clearly

   found Mr. Calvo more credible on this very important point. A Rule 50 motion

   cannot be used to undermine that finding. See Lamonica v. Safe Hurricane

   Shutters, Inc., 711 F.3d 1299, 1312 (11th Cir. 2013) (on Rule 50 review “we will

   “disregard all evidence favorable to the moving party that the jury is not required to

   believe.”) (affirming denial of Rule 50 motion following jury verdict finding in




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   plaintiff’s favor in FLSA action as to both individual liability and number of

   overtime hours worked).

         Moreover, the jury’s credibility finding did not require the jurors to

   completely disregard Plaintiff’s testimony. As the standard instructions dictate, the

   jurors have the right to accept all, some, or none of a witness’s testimony.      In

   Plaintiff’s case, the jury could very well have accepted much of her testimony, which

   in turn led them to conclude that the administrative exemption applied. That is the

   case because a plaintiff may want to aggrandize the amount of time she devoted to

   an employer, in an effort to maximize her overtime damages. By doing so, however,

   she runs the risk that the jury might conclude that her role in the company was

   invaluable and quite extensive. That finding falls squarely in line with Defendants’

   theory that she was single-handedly in charge of the marketing and collections

   functions of this small company. And that is why she was working as many hours

   as she claimed to be working.

         For instance, though the transcript of Ms. Pineda’s testimony was not filed,

   the Court’s notes of her testimony evidence that she claimed she was involved in

   almost all aspects of this company’s operations. For starters, she would contact the

   warehouse after a load of fish arrived, then she would contact the custom broker to

   get the paperwork going, then receive the broker’s report, and the input that

   information into the system.      She would then turn around and prepare the

   customer’s orders for the distribution of the load of fish. Once that was done, she


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   was in charge of contacting the trucking companies that were being contracted to

   move the fish. And she did all this for any of the shipments the company would

   receive on a weekly basis.

         But wait, there is more. Plaintiff admitted that when she started working at

   the company, the collections process was a mess.         She testified that, upon her

   arrival, she took on the task of fixing that process. So her work then included the

   extensive time that was necessary to repeatedly communicate with all the

   company’s customers to make sure payment was made. As she put it, this would

   require her to “collect, collect, collect” or words to that effect. Thus, this aspect of

   her testimony certainly falls in line with Mr. Calvo’s testimony to the extent that he

   maintained that her work for the company was extensive and went far beyond the

   clerical/office work that Plaintiff’s motion makes it out to be. Again, the jury was

   entitled to pick and choose from the available testimony and decide what Plaintiff

   was in fact doing at and how important that work was in the overall operation of

   the company. The jury obviously concluded that she became a central component of

   the management team, thus justifying the fixed salary she received from Defendant

   as an administratively exempt manager. So, contrary to the thrust of Plaintiff’s

   motion, she was doing a lot more than answering the phones.

         As is often the case, the losing party at trial is looking at the evidence

   through rose-colored glasses. Our task, however, is to review that same evidence

   differently; we are to draw reasonable inferences in favor of the prevailing party


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   and to defer to the credibility determinations of the fact finder. In doing so, and

   upon considering the entire record, there was indeed ample evidence for the

   Defendants to meet the second prong of the administrative exemption test. Plaintiff

   has not persuaded us that reasonable jurors could not have reached that conclusion.

   See also Burton v. Appriss, Inc., 682 F. App’x 423, 427-28 (6th Cir. 2017) (affirming

   judgment finding account manager of software services company administratively

   exempt where her primary duty was managing relations with, supporting,

   servicing, and liaising with, existing clients regarding their computer software

   needs).

         Moving on to the third prong of the administrative exemption test, we must

   look to whether the employee’s primary duties involve “the exercise of discretion

   and independent judgment with respect to matters of significance.” 29 C.F.R. §

   541.200(a)(3). “The phrase ‘discretion and independent judgment’ must be applied

   in the light of all the facts involved in the particular employment situation in which

   the question arises.” Id. at § 541.202(b).    Some of the factors to consider when

   determining whether an employee exercises discretion and independent judgment

   are “whether the employee performs work that affects business operations to a

   substantial degree, even if the employee’s assignments are related to operation of a

   particular segment of the business” and “whether the employee provides

   consultation or expert advice to management.” 29 CFR § 541.202(b). The ultimate

   question is whether the employee has the ability “to make an independent choice,


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   free from immediate direction or supervision.” Id. § 541.202(c). Although there is

   no requirement that the employee operate free from oversight, the employee’s

   duties must involve “more than the use of skill in applying well-established

   techniques, procedures or specific standards described in manuals or other sources.”

   Id. § 541.202(e).

         Based on the evidence we heard at trial and our review of the trial transcript,

   there is enough evidence in the record for a reasonable juror to conclude that

   Plaintiff’s primary duties included independent judgment and discretion. Mr. Calvo

   testified, for example, that Plaintiff independently engaged in negotiations with

   respect to the purchasing of equipment for the company:

         Q. Did you ask her to do that or did she do that herself?
         A. She talked to a sales rep from Dell, and she came up to me and told me,
         Listen, I got you this, this, this, and this.
         Q. So she negotiated that on her own?
         A. So it was a deal, yes.

   [D.E. 92-3 at 30-31]. Mr. Calvo then testified that Plaintiff exercised independent

   judgment with respect to the creation of a system in assisting sales representatives

   in their communications with customers:

         A. Oh, one more thing that I think is very important. She created a
         sheet where sales representatives will follow up with that sheet, with
         that report, will report of hers.       So she said that the sales
         representative will be more focused on calling more customers and will
         know exactly what they are doing every day.
         Q. Did you ask her to do that?
         A. No.




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   Id. at 31. Mr. Calvo further testified that Plaintiff created a logbook – including its

   rules and policies – to assist employees in the performance of their duties:

          Q. . . . And who created this logbook?
          A. Ms. Denise Pineda
          ...
          Q. At any point in time did you ever direct Ms. Pineda to throw out the
          logbook?
          A. How would I do that? No.
          ...
          Who was in charge of policing or checking the logbook? If you didn’t who was?
          A. At that specific moment, she was in charge of it.

   Id. at 53.

          In fact, there is evidence in the record that Ms. Calvo did almost all things

   related to her employment by herself:

          Q. So did she go and ask permission when she was in charge of that collection
          to anybody in the company on a call-by-call basis, can I call this person?
          A. Never
          Q. Or did she take that upon herself?
          A. No. She took it upon herself, like she did all the things by herself.

   Id. at 104.

          We note that it is inconsequential that Plaintiff may have submitted some of

   her plans to Mr. Calvo before they were finalized because this does not disqualify an

   employee from the administrative exemption. See Viola v. Comprehensive Health

   Mgmt., Inc., 441 F. App’x 660, 664 (11th Cir. 2011) (“Though the record

   demonstrates that Viola was required to submit most of her plans to management

   before they were finalized, review of this kind does not disqualify an employee from

   the administrative exemption.”) (citing 29 CFR § 541.202(c) (explaining that “[t]he


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   decisions made as a result of the exercise of discretion and independent judgment

   may consist of recommendations for action” and may be “reviewed at a higher

   level”)).

          And, again, the jury was tasked with weighing this evidence juxtaposed

   against Plaintiff’s testimony that she was merely following her employer’s

   instructions on a regular basis. The jury clearly credited Mr. Calvo’s testimony

   rather than the Plaintiff’s.     The jury found that she did in fact extensive

   independent judgment on a critical aspect of the employer’s business. That finding

   supports this verdict. See, e.g., Rock v. Ray Anthony, 380 F. App’x at 880 (affirming

   trier of fact finding that employee exercised sufficient independent judgment to

   satisfy exemption; “Although reasonable minds could differ about the degree of

   discretion [she] exercised as a dispatcher, sufficient evidence exists in the record to

   support the district court’s finding that [she] exercised discretion and independent

   judgment.”); Reyes v. Hollywood Woodwork, 360 F. Supp. 2d at 1293             (finding

   independent judgment satisfied where “decisions made as a result of the exercise of

   discretion and independent judgment may consist of recommendations for action

   rather than the actual taking of action”); see also Burton v. Appriss, 682 F. App’x at

   431 (affirming judgment finding account manager of software services company

   administratively exempt where employee’s discretionary authority in dealing with

   company accounts constituted decisions that significantly impacted the business’

   operations); cf. Gonzalez v. Batmasian, 734 F. App’x 677, 681 (11th Cir. 2018) (“this


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   case was “largely a ‘he said, she said’ trial.” If the jury credited the testimonies of

   plaintiff Gonzalez and witness Baker, the jury could reasonably find that Gonzalez

   was not a manager or administrator, that she worked overtime hours for which she

   was not paid, and that the defendants knew about the unpaid overtime.”) (affirming

   denial of motion for new trial following jury verdict in employee’s favor in FLSA

   overtime action).

         In sum, because there is sufficient evidence in the record to support the jury’s

   finding that Plaintiff exercised discretion and business judgment, Plaintiff’s motion

   to vacate the jury’s verdict under Rule 50 is DENIED. See also P&k Rest. Enter.,

   LLC v. Jackson, 2019 WL 190804, at *3 (11th Cir. Jan. 15, 2019) (affirming denial

   of Rule 50 motion following jury verdict in plaintiff’s favor where jury could have

   relied solely on employee’s testimony that she was not on notice of employer’s use of

   tip credit, notwithstanding substantial evidence to the contrary); Powell v. Morton

   Plant Mease Health Care, Inc., 174 F. App'x 520, 522 (11th Cir. 2006) (“Although

   there was evidence that Powell’s duties were in part supervisory, there was

   significant other evidence that she was primarily a kitchen worker. At most, there

   was competent evidence on both sides of this issue.”) (affirming denial of Rule 50

   motion following jury verdict finding that employee was not exempt).




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         B.     Rule 59 Motion for New Trial

                                 (1)    Standard of Review

         Pursuant to Rule 59(a) of the Federal Rules of Civil Procedure, a court may

   grant a new jury trial “for any reason for which a new trial has heretofore been

   granted in an action at law in federal court.” Fed. R. Civ. P. 59(a). A party may

   seek a new trial by arguing that “the verdict is against the great weight of the

   evidence, that the damages are excessive, or that, for other reasons, the trial was

   not fair to the party moving; and may raise questions of law arising out of alleged

   substantial errors in admission or rejection of evidence or instructions to the jury.”

   Montgomery Ward & Co. v. Duncan, 311 U.S. 243, 251, 61 S. Ct. 189, 85 L. Ed. 147

   (1940); Steger v. General Elec. Co., 318 F.3d 1066, 1081 (11th Cir. 2003). However,

   a motion brought pursuant to Rule 59 may not “relitigate old matters, raise

   argument or present evidence that could have been raised prior to the entry of

   judgment.” Linet, Inc. v. Village of Wellington, Fla., 408 F.3d 757, 763 (11th Cir.

   2005) (motion to amend or alter judgment was essentially a motion to reconsider the

   district court’s prior summary judgment order).

         Resolution of a motion for a new trial is committed to the discretion of the

   trial court. See Montgomery v. Noga, 168 F.3d 1282, 1295 (11th Cir. 1999). When

   ruling on a motion for a new trial, the judge must determine “if in his opinion, ‘the

   verdict is against the clear weight of the evidence . . . or will result in a miscarriage

   of justice, even though there may be substantial evidence which would prevent the


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   direction of a verdict.’” Insurance Co. of N. America v. Valente, 933 F.2d 921, 922-23

   (11th Cir. 1991) (quoting Hewitt v. B.F. Goodrich Co., 732 F.2d 1554, 1556 (11th

   Cir. 1984)). “[T]o assure that the judge does not simply substitute his judgment for

   that of the jury, . . . we have noted that new trials should not be granted on

   evidentiary grounds unless, at a minimum, the verdict is against the great – not

   merely the greater – weight of the evidence.” Id. at 923 (quoting Hewitt, 732 F.2d at

   1554). The judge must protect against manifest injustice in the jury’s verdict, but it

   is not her role to assess credibility where conflicting testimony has been presented

   during the trial. Id. at 1558-59. Instead, the judge must defer to the jury on the

   weight to be given to each witness’s testimony. Id.

                 (2)    Analysis of Defense Counsel’s Alleged Misconduct

         Plaintiff argues that the Court should order a new trial on her retaliation

   claim because Defendants violated several in limine rulings that prejudiced the

   jury.5 More specifically, Plaintiff claims that the evidence was strongly in her favor

   on her retaliation claim if not for Defendants’ conduct in prejudicing the jury when



   5      To the extent the Court denies Plaintiff’s request for entry of judgment on her
   overtime claim under Rule 50, Plaintiff also seeks a new trial on her overtime claim
   under Rule 59. Plaintiff never explains, however, how the in limine violations
   impacted her overtime claim. Instead, Plaintiff focuses entirely on her retaliation
   claim. This omission leaves open the question of whether Plaintiff believes that the
   in limine violations impacted one or both claims. And if the in limine violations
   altered the jury’s verdict on both claims, Plaintiff never makes that point clear. But
   we assume for purposes of this motion that, had we granted Plaintiff any Rule 59
   relief on the retaliation claim, the same result should follow as to the overtime
   claim.

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   they referenced her prior FLSA lawsuit and compared her to “an animal.” Plaintiff

   insists that a new trial is necessary to remedy these violations because the jury

   verdict cannot be reconciled with the evidence presented.6

         First, Plaintiff argues that – despite the Court directing Defendants to not

   refer to Plaintiff as a bad person – Defendants ignored that instruction and referred

   to Plaintiff as an animal. Plaintiff specifically takes issue with Defendants’ closing

   arguments where Defendants summarized this case as a “wolf in sheep’s clothing.”

   Plaintiff claims that there are numerous cases involving motions for new trials

   when one party uses the phrase “a wolf in sheep’s clothing,” but concedes that they

   are only in criminal cases. Nonetheless, Plaintiff argues that the same principle

   applies in civil cases and that the conduct of Defendants’ attorneys necessitates a

   new trial because Defendants dehumanized her in front of the jury.

          Second, Plaintiff argues that, prior to trial, she moved to exclude any

   references to a prior FLSA lawsuit where she claimed overtime and minimum wage

   violations. The Court denied Plaintiff’s motion with leave to renew at trial and

   stated that, if Defendants wished to introduce evidence of prior FLSA lawsuits, they

   needed to explain why it fits within the exception of Rule 404:

         We recognize Plaintiff’s concern that the introduction of prior FLSA
         lawsuits may raise collateral issues that are not germane to the facts
         of this case. However, we are unprepared on a motion to limine to


   6     Plaintiff mentions in passing that the jury verdict was against the greater
   weight of the evidence but does not articulate that position with any substantive
   argument or applicable authority. Therefore, to the extent Plaintiff seeks relief on
   the merits of her claims under Rule 59 for the jury verdict being against the greater
   weight of the evidence, Plaintiff’s motion is DENIED as conclusory and
   unsupported.
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            make a conclusive determination that Defendants’ evidence is
            inadmissible. If Defendants wish to introduce evidence of Plaintiff’s
            prior FLSA lawsuits, Defendants must explain why at trial it fits
            within the exception of Rule 404 and whether the probative value
            outweighs any prejudicial effect on the present case.

   [D.E. 65 at 9].

            Plaintiff contends that Defendants’ violated the in limine ruling when

   defense counsel questioned Plaintiff on a prior FLSA claim without approaching the

   bench:

            Q. Have you ever had any issues with a prior employer with respect to unpaid
            overtime wages prior to working at Pescatlantic?
            A. What type of issues?
            Q. Did you ever sue a prior employer?
            Mr. Marban: Objection, Your Honor.
            The Court. Sustained.

   [D.E. 93-2, Exh. E]. Although Plaintiff objected at the appropriate time, Plaintiff

   alleges that Defendants engaged in a calculated scheme to by-pass the in limine

   ruling in the days that followed.

            For example, Plaintiff asserts that, on day three of the trial, Defendants

   violated the in limine ruling when they asked leading questions about Plaintiff’s

   prior lawsuit to Mr. Calvo:

            Q. . . . now after Denise Pineda no longer works there, is there anything with
            respect to when you’re hiring a new employee or that you would do that you
            did not do at the time? Would you check reference or anything like that . . .
            A. I think the only thing I will do now is I will – before I hire, you mean,
            someone?
            Q. Yeah. Well, I guess while you’re interviewing someone or before you hire
            them.
            A. First, I will go deeply on the interviews at least five to six times and I will
            – and I will check if those employees had any lawsuits against any companies
            in the past.



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   [D.E. 93-2]. Plaintiff concedes that she did not object at the time of the question on

   day three because it was difficult to anticipate the response. However, Plaintiff

   believes that, if she had objected, it would have been fruitless because “the bell was

   already rung and the objection could have backfired.” [D.E. 93].

         The third time that Defendants purportedly violated – or at least tried to

   violate – the Court’s in limine ruling was when the Court excluded evidence of

   Plaintiff’s work at a gentlemen’s club at the pretrial conference.

         The next question is the Stir Crazy employment. I think the relevance
         of that is so minimal. And so you know if it is minimally relevant, I
         think on a 403 balancing, I just think that the plaintiff ahs a good
         point that it would be unduly prejudicial to allow it. Again, any
         pretrial ruling is subject to reconsideration depending on what
         happens.

   [D.E. 93-6].   Plaintiff admits that she may have opened the door on this issue

   during trial, but brings this to the Court’s attention so that it may be considered.

         In determining whether an attorney’s misconduct warrants a new trial,

   courts consider “whether the improper assertions have made it ‘reasonably

   probable’ that the verdict was influenced by prejudicial statements.” Fineman v.

   Armstrong World Indus., Inc., 980 F.2d 171, 207 (3d Cir. 1992) (internal citation

   omitted). The misconduct must rise to such a level “ ‘such as to impair gravely the

   calm and dispassionate consideration of the case by the jury.’ ” Gonzalez v.

   Batmasian, 734 F. App’x 677, 682 (11th Cir. 2018) (quoting Vineyard v. Cty. of

   Murray, Ga., 990 F.2d 1207, 1213 (11th Cir. 1993)). “Generally, misconduct by trial

   counsel results in a new trial if the ‘flavor of misconduct sufficiently permeate[s] an

   entire proceeding to provide conviction that the jury was influenced by passion and

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   prejudice in reaching its verdict.’” Hemmings v. Tidyman’s Inc., 285 F.3d 1174, 1192

   (9th Cir. 2002) (quoting Kehr v. Smith Barney, 736 F.2d 1283, 1286 (9th Cir.

   1984) (alteration in original)).

         “[T]he burden of requesting a new trial based on attorney misconduct is

   high.” XTec, Inc. v. Hembree Consulting Servs., Inc., 183 F. Supp. 3d 1245, 1271

   (S.D. Fla. 2016). In meeting that burden the movant, and the Court, must “look to

   the entire argument, the context of the remarks, the objection raised, and the

   curative instruction.” Allstate Ins. Co. v. James, 845 F.2d 315, 318 (11th Cir. 1988).

   And if timely objection is made and a curative instruction given, we presume that a

   jury follows the court’s instructions. See Gowski v. Peake, 682 F.3d 1299, 1315 (11th

   Cir. 2012).

         Here, Plaintiff’s motion does not meet the high burden for a new trial based

   on the conduct of Defendants’ attorneys. First, Plaintiff concedes that she opened

   the door into the history of her work applications at the Pink Pony and BT’s

   Gentlemen’s Club when she introduced her job search log at trial. Plaintiff claims

   that the Court should consider the prejudicial effect of any testimony that followed.

   But, Plaintiff’s argument rings hollow because she opened the door to the testimony

   that she now complains of and – making matters worse – she fails to explain how

   her introduction of this evidence does not constitute a waiver of the in limine ruling.

         Second, Plaintiff implicitly suggests that, for strategic reasons, she made the

   choice not to object when Mr. Calvo testified that he would check in the future on

   whether potential employees have sued their employers in the past.            Plaintiff



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   alleges that Defendants violated the Court’s in limine ruling because the Court held

   that “[i]f the Defendants wish to introduce evidence of Plaintiff’s prior lawsuits,

   Defendants must explain why at trial it fits within the exception of Rule 404 and

   whether the probative value outweighs any prejudicial effect on the present case.”

   [D.E. 65 at 9] (emphasis added). Plaintiff’s argument misses the mark because Mr.

   Calvo never testified about Plaintiff’s prior FLSA lawsuits. Mr. Calvo only stated

   that he would change his hiring procedures going forward, meaning his testimony

   does not constitute a violation of the in limine ruling. And even if Mr. Calvo’s

   testimony could be construed as a violation of the in limine ruling, Plaintiff fails to

   show how this permeated the trial or prejudiced the jury in reaching its verdict.

         Plaintiff’s final argument is equally unconvincing because – while she

   complains that Defendants compared this case to a “wolf in sheep’s clothing,” –

   Plaintiff fails to reference anywhere in the record where she objected to Defendants’

   conduct.   That is, to the extent Plaintiff’s argument has any merit, her failure to

   object to Defendants’ conduct constitutes a waiver.       And even if we put aside

   Plaintiff’s failure to object, Plaintiff relies on no persuasive authority where

   Defendants’ statement was deemed so prejudicial to warrant a new trial in a civil

   case. Defendants simply used a well-known idiom to describe Plaintiff’s testimony;

   it is farfetched to conclude that Defendants literally compared Plaintiff to an

   animal. Indeed, no reasonable juror could make that leap.

         The irony is that Defendants’ counsel never called Plaintiff an animal, a bad

   mother, or a bad person.     Plaintiff’s counsel is the one who made reference to



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   Plaintiff as a “bad person,” when counsel stated that “[t]he defendant is hoping that

   some of you might be prejudiced and think that, oh, she’s a bad person.” [D.E. 93-2

   at 130]. Counsel was obviously trying to defuse the challenge that would be made

   to Plaintiff’s credibility, due in part to her admission that she represented to

   Defendant that she had a high school degree when, in fact, she never graduated

   from high school. There was certainly nothing improper in that strategic decision;

   but at the same time it undermines the theory that Defendants were unfairly

   targeting the Plaintiff.

         In a similar vein, Plaintiff’s counsel took the same approach near the end of

   closing arguments:

         [O]pposing counsel said she’s a bad person. You should rule against
         her because she applied at an adult entertainment club when she was
         out of a job, and she told you she prefers to do that rather than leave
         her children. He’s trying to say she’s a bad person. Don’t rule against
         her.

   [D.E. 93-2 at 169-170]. This shows that it was Plaintiff’s counsel, not Defendants,

   that explicitly referred to Plaintiff as a bad person. Defendants may have implied it

   through their cross-examination; but no one labeled her as such during the trial.

   And nothing defense counsel said during closings or throughout the trial cause us to

   question the “calm and dispassionate consideration of the case by the jury.”

   Gonzalez v. Batmasian, 734 F. App’x at 685 (affirming denial of Rule 59 motion for

   new trial in FLSA action based on plaintiff’s counsel’s statements that did not

   impair gravely the jury’s deliberations).




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                    (3)   Analysis of Admission of Impeachment Witness

         Plaintiff’s final argument is that the Court erred when it allowed an

   undisclosed witness, Walter Gonzalez (“Mr. Gonzalez”), to testify for impeachment

   purposes. Plaintiff claims that the witness’s testimony should have been excluded

   because he provided both substantive and impeachment testimony.                  Plaintiff

   further contends that Defendants used Mr. Gonzalez’s testimony to argue that

   Plaintiff was not a good mother because she allowed a criminal to be around her

   children. For these reasons, Plaintiff concludes that a new trial is required.

         If a party “fails to provide . . . [the] identity of a witness as required by Rule

   26(a) or (e), the party is not allowed to use that . . . witness to supply evidence on a

   motion . . . unless the failure is substantially justified or is harmless.” Fed. R. Civ.

   P. 37(c)(1). A trial court considering a motion to exclude a witness not listed on the

   initial disclosures should look to three factors: “(1) the importance of the testimony;

   (2) the reason for the [party’s] failure to disclose the witness earlier; and (3) the

   prejudice to the opposing party if the witness had been allowed to testify.” Bearint

   ex rel. Bearint v. Dorell Juvenile Grp., Inc., 389 F.3d 1339, 1353 (11th Cir. 2004).

   There is an exception, however, to the general rule that the identity of witnesses

   must be disclosed early on in a case. If a witness is called solely to impeach the

   testimony of another witness, the party calling the impeaching witness need not

   have previously disclosed the identity of the impeaching witness. If a witness

   provides “any substantive testimony” that witness’s identity must be previously

   disclosed. Id.



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         Here, Plaintiff’s argument is misplaced for many of the reasons already

   discussed because Defendants never referred to Plaintiff as a bad mother and

   Plaintiff fails to reference any part of the record to support her contention.

   Plaintiff’s theory is also misguided because she claims that Mr. Gonzalez provided

   substantive testimony, even though the record shows quite clearly that the

   undersigned limited any testimony solely for impeachment purposes. Therefore,

   Plaintiff’s argument that the Court erred in allowing Mr. Gonzalez to testify as an

   impeachment witness lacks merit.

                                  III. CONCLUSION

         For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that

   Plaintiff’s motion for new trial is DENIED. [D.E. 93]

         DONE AND ORDERED in Chambers at Miami, Florida, this 3rd day of

   April, 2019.



                                                 /s/ Edwin G. Torres
                                                 EDWIN G. TORRES
                                                 United States Magistrate Judge




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